          Case 1:22-cr-00089-ZMF Document 4 Filed 03/17/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CASE No:
                                                 :
           v.                                    :
                                                 :    MAGISTRATE NO. 22-MJ-57
 NANCY BARRON,                                   :
                                                 :    VIOLATIONS:
                          Defendant.             :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a Restricted
                                                 :    Building)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, NANCY BARRON, did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
          Case 1:22-cr-00089-ZMF Document 4 Filed 03/17/22 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, NANCY BARRON, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


                                       COUNT THREE

       On or about January 6, 2021, in the District of Columbia, NANCY BARRON, willfully

and knowingly engaged in disorderly and disruptive conduct within the United States Capitol

Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the

orderly conduct of a session of Congress and either House of Congress, and the orderly conduct in

that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




                                                2
          Case 1:22-cr-00089-ZMF Document 4 Filed 03/17/22 Page 3 of 3




                                       COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, NANCY BARRON, willfully

and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052


                                                  /s/ Laura E. Hill
                                           by:    LAURA E. HILL
                                                  NV Bar No. 13894
                                                  Trial Attorney, Detailee
                                                  175 N Street, NE, 9th Floor
                                                  Washington, D.C. 20002
                                                  202-598-3962
                                                  Laura.E.Hill@usdoj.gov




                                              3
